                     IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-136

                                       No. COA20-181

                                     Filed 20 April 2021

     Avery County, No. 13 SPC 68

     In re: E.W.P.



           Appeal by respondent from order entered 26 June 2019 by Judge Alan Z.

     Thornburg in Avery County Superior Court. Heard in the Court of Appeals 23

     February 2021.


           Robert T. Broughton, Special Deputy Attorney General, for Petitioner-Appellee

           John F. Carella, Carella Legal Services, for Respondent-Appellant


           CARPENTER, Judge.


                         I. Factual and Procedural Background


¶1         On 8 March 2004, Respondent was involuntarily committed to Broughton

     Hospital after being found incapable of proceeding to trial in Avery County Superior

     Court on charges including first degree murder, attempted murder, and assault with

     a deadly weapon with intent to kill inflicting serious injury.            Specifically,

                                             -1-
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     Respondent’s charges involved the murder of Avery County Sherriff’s Deputy Glenn

     Hicks and the attempted murder of Deputy Ralph Coffey. In 2013, the trial court

     found Respondent to be capable of proceeding to trial and to have a valid defense of

     insanity.   The trial court dismissed the charges and ordered Respondent to be

     involuntarily committed at Central Regional Hospital pursuant to N.C. Gen. Stat. §§

     15A-1321 and 122C-268.1. The trial court retained jurisdiction over Respondent as

     a defendant found not guilty by reason of insanity, or an “NGRI defendant.”

¶2         Dr. Wolfe, a forensic psychiatrist at Central Regional Hospital, has been

     Respondent’s primary treating psychiatrist for over five years. At Respondent’s 2017

     recommitment hearing, Dr. Wolfe requested “(1) an increase from two hours to four

     hours of daily campus ground passes; (2) an increase of the [patient-to-staff] ratio

     from one-to-five to one-to-ten; and (3) quarterly, two-hour family supervised passes

     within thirty miles of the hospital campus.” The trial court denied those requests.

     Respondent appealed from the 27 June 2017 recommitment order, and this Court

     found no error in an unpublished opinion issued on 6 November 2018. The North

     Carolina Supreme Court denied a petition for discretionary review.

¶3         On 12 June 2019, Respondent’s case came on for a recommitment hearing in

     Avery County Superior Court before the Honorable Alan Z. Thornburg. Dr. Wolfe

     testified that what keeps Respondent in the hospital “is his murder, NGRI, and the

     dangerousness to others because of that incident.”        Dr. Wolfe testified that
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     Respondent’s lack of insight, which she believed to be permanent, “causes his

     dangerousness.”    Dr. Wolfe testified Respondent remains convinced that he was

     protecting himself and acting in self-defense in 2003, and “that idea is always going

     to be there.”

¶4         During the 2019 recommitment hearing, Respondent’s treatment team sought

     an order granting increased privileges for Respondent. The increased privileges

     sought included more ground pass hours and a move to a lesser degree of supervision,

     specifically an increased patient-to-staff ratio, on public trips.   Dr. Wolfe testified

     that increased privileges would be necessary to allow Respondent to work toward the

     goal of community reintegration.

¶5         However, Dr. Wolfe’s testimony tended to show the need for a greater patient-

     to-staff ratio was in part based on the hospital’s “budgetary concern.” In her words,

     hospital staff were “always under scrutiny to decrease . . . staff spending. . . .” When

     asked on direct examination whether the purpose of the request for a greater patient-

     to-staff ratio was “essentially to see how [Respondent] was going to behave,” Dr.

     Wolfe’s response was: “I don’t think that it’s representative as much to see how he’s

     going to behave as opposed to availability of staff in order to take patients out.” Dr.

     Wolfe testified that the staff member who accompanies patients into the public places

     is unarmed, and that “most of the patients” on these public trips “have killed

     someone.”
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¶6         In its 26 June 2019 order, the trial court found as fact that Respondent

     continues to suffer from mental illness of delusional disorder and remains dangerous

     to others based on his past actions. The trial court found that the requested increase

     from two to four hours for grounds passes was merited. Regarding the two other

     requests, the trial court found as follows:

                  b. As to the request for a decrease in the staff to patient
                  supervision ratio . . . The Court finds that decreasing the
                  level of supervision for off-hospital campus activities . . .
                  could pose an increased risk to public safety. In light of this,
                  this Court in its discretion determines that a decrease in
                  Respondent’s staff to patient supervision ratio for off-
                  campus activities is not merited and is not allowed.
                  c. As to the request for two hour family-supervised off
                  campus passes within 30 miles of Central Regional
                  Hospital, this Court finds that . . . other alternatives exists
                  whereby hospital staff could supervise such off-campus
                  visits and facilitate visits by the Respondent’s family. In
                  light of this evidence, this Court [in] its discretion
                  determines that two hour family-supervised off campus
                  passes within 30 miles of Central Regional Hospital are not
                  merited, and are not allowed.

¶7         Respondent filed notice of appeal on 1 July 2019.

                                        II. Jurisdiction

¶8         Jurisdiction lies in this court pursuant to N.C. Gen. Stat. § 122C-272 (2019)

     over an appeal from a final judgment of a superior court. The issue of a court’s subject

     matter jurisdiction may be raised at any time, even on appeal. State v. High, 230

     N.C. App. 330, 334, 750 S.E.2d 9, 12 (2013).
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                                               III. Issues

¶9              Respondent contends (1) the trial court erred by ordering a one-to-five ratio of

       staff supervision for Respondent because the trial court lacked jurisdiction to overrule

       qualified medical professionals on the decision; in the alternative, Respondent

       contends (2) the trial court abused its discretion by denying Respondent the ability to

       obtain family-supervised off-campus visitation and outings supervised at a one-to-ten

       ratio.

                                             IV. Analysis

                                      A. Trial Court Jurisdiction

¶ 10            Respondent argues the trial court erred by ordering a one-to-five ratio of staff

       supervision because the court lacked jurisdiction to overrule qualified professionals

       on this decision. Whether a court has jurisdiction is a question of law reviewed de

       novo on appeal. McKoy v. McKoy, 202 N.C. App. 509, 511, 689 S.E.2d 590, 592 (2010)

       (citation omitted). N.C. Gen. Stat. § 122C-62 is instructive regarding the basis for a

       trial court’s jurisdiction over an NGRI defendant such as Respondent. N.C. Gen. Stat.

       § 122C-62(b) states in relevant part:

                      (b) Except as provided in subsections (e) and (h) of this
                      section, each adult client who is receiving treatment or
                      habilitation in a 24-hour facility at all times keeps the right
                      to:
                      ...
                      (4) Make visits outside the custody of the facility unless:
                      a. Commitment proceedings were initiated as the result of
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                     the client’s being charged with a violent crime, including a
                     crime involving an assault with a deadly weapon, and the
                     respondent was found not guilty by reason of insanity or
                     incapable of proceeding;
                     ...
                     A court order may expressly authorize visits otherwise
                     prohibited by the existence of the conditions prescribed by
                     this subdivision[.]
                     ...
                     (e) No right enumerated in subsections (b) or (d) of this
                     section may be limited or restricted except by the qualified
                     professional responsible for the formulation of the client’s
                     treatment or habilitation plan. . . .

       N.C. Gen. Stat. § 122C-62(b) (2019).

¶ 11          The basis of Respondent’s jurisdictional argument rests on the contention that

       he remained “in the custody” of the facility during his outings off the premises of the

       facility.   Therefore, Respondent contends, the trial court had no jurisdiction to

       “overrule” the requests of his treatment team for lesser supervision on the outings.

       This Court, however, has interpreted N.C. Gen. Stat. § 122C-62 to hold “visits outside

       the custody of the facility include . . . visits off the premises.” In re Williamson, 151

       N.C. App. 260, 266, 564 S.E.2d 915, 919 (2002). In Williamson, this Court held an

       NGRI defendant “does not have a protected liberty interest in obtaining passes” for

       visits outside the custody of the facility. Id. at 266, 564 S.E.2d at 919.

¶ 12          As an NGRI defendant, Respondent falls within the class of “adult clients”

       subject to N.C. Gen. Stat. § 122C-62(b)(4). Section (b)(4) disallows NGRI clients

       receiving treatment in a 24-hour facility “the right to . . . make visits outside the
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       custody of the facility” without a “court order” that “expressly authorize[s]” such a

       visit. The trial court granted Respondent the right to make visits outside the custody

       of the facility at a one-to-five ratio.

¶ 13          Pursuant to N.C. Gen. Stat. § 122C-62(e), if such a right is granted to an NGRI

       defendant, only the qualified professional responsible for the formulation of the

       client’s treatment or habilitation plan can limit or restrict it. N.C. Gen. Stat. § 122C-

       62(e) (2019). If such a right is not granted to an NGRI defendant at all, N.C. Gen.

       Stat. § 122C-62 does not grant the qualified professional the ability to grant it herself.

       Similarly, no part of N.C. Gen. Stat. § 122C-62 gives the qualified professional the

       ability to unilaterally expand the parameters of confinement and rights established

       by the trial court within the statutory structure set forth in N.C. Gen. Stat. § 122C

       as to an NGRI defendant. Only the trial court can grant the right to make visits

       outside the custody of the facility pursuant to N.C. Gen. Stat. § 122C-62, hence,

       Respondent’s argument that the trial court effectively “overruled” a qualified

       professional on the decision to grant a right is without merit.

¶ 14          “There exists a need to monitor and keep the public safe from individuals (such

       as respondent) that often times have committed violent, dangerous or other criminal

       acts resulting in their involuntary commitment.” Williamson 151 N.C. App. at 268,

       564 S.E.2d at 920. We find the government’s interest in keeping the public safe, in

       conjunction with the plain language of N.C. Gen. Stat. § 122C-62, provides the trial
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       court jurisdiction to determine the parameters of the confinement of an NGRI

       defendant within the statutory structure of N.C. Gen. Stat. § 122C, including the

       ability to leave the facility to which they are validly committed.

                                       B. Abuse of Discretion

¶ 15         Respondent argues in the alternative the trial court abused its discretion by

       declining Respondent’s request for family-supervised off-campus visitation and

       outings supervised at a one-to-ten ratio. Abuse of discretion is the appropriate

       standard by which an appellate court reviews the determination of a trial court to

       grant or deny out of custody privileges for an NGRI defendant. Id. at 260, 564 S.E.2d

       at 919. “Under the abuse of discretion standard, our role is not to surmise whether

       we would have disagreed with the trial court, but instead to decide whether the trial

       court’s ruling was so arbitrary that it could not have been the result of a reasoned

       decision.” State v. McGrady, 368 N.C. 880, 899, 787 S.E.2d 1, 15 (2016) (citation

       omitted).

¶ 16         Substantial evidence exists in the record to support the trial court’s findings of

       fact. Specifically, Dr. Wolfe’s testimony that Respondent’s permanent lack of insight

       “causes his dangerousness” provided sufficient support for the trial court’s decision

       to decline Respondent’s request for family-supervised off-campus visitation. Further

       testimony from Dr. Wolfe that the staff member who accompanies patients into the

       public places is unarmed, and that “most of the patients” on these public trips “have
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       killed someone,” provided sufficient support for the trial court’s decision to decline

       Respondent’s request for outings supervised at a one-to-ten ratio.          This Court

       therefore finds the trial court did not abuse its discretion by declining Respondent’s

       request for family-supervised off-campus visitation or outings supervised at a one-to-

       ten ratio.

                                          V. Conclusion

¶ 17          We find the trial court’s jurisdiction was proper based on the plain language of

       N.C. Gen. Stat. § 122C-62.      Further, we find the trial court did not abuse its

       discretion, as substantial evidence existed in the record to support the trial court’s

       findings of fact. For those reasons, we affirm the orders of the trial court.



              AFFIRMED.

              Judges ARROWOOD and GORE concur.
